     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.369 Page 1 of 7



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Case No.: 18cr5391 WQH
12                                     Plaintiff,
                                                        ORDER
13   v.
14   MICHAEL ECKHOFF,
15                                  Defendant.
16
17   HAYES, Judge,
18         The matter before the Court is the motion to reduce sentence under 18 U.S.C. §
19   3582(c)(1) (ECF No. 98) filed by the Defendant.
20                                            FACTS
21         On August 7, 2020, this Court entered Judgment committing Defendant to the
22   custody of the Bureau of Prisons for 60 months for two counts of distribution of
23   methamphetamine in violation of 21 U.S.C. § 841 and 853. Defendant has served
24   approximately fifteen months of his sentence.
25         Defendant was arrested on this case on February 21, 2019 and released on bond on
26   March 27, 2019. While on bond, Pretrial Services filed numerous petitions which resulted
27   in revocation proceedings on four occasions.
28

                                                    1
                                                                                 18cr5391 WQH
     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.370 Page 2 of 7



 1         On July 11, 2019, Defendant pled guilty to the counts in the indictment. In late
 2   August 2019 while on bond, Defendant was involved in a motorcycle accident. Defendant
 3   suffered multiple injuries, including a traumatic subarachnoid hemorrhage. Defendant was
 4   hospitalized until September 10, 2019. Following the crash, Defendant was taken into state
 5   custody for pending charges and subsequently writ to federal custody on December 5,
 6   2019. This Court continued the sentencing for treatment and evaluation. The Court ordered
 7   a competency evaluation. The evaluation found that Defendant suffered a mild
 8   neurological disorder due to traumatic brain injury and that the presence of this neurologic
 9   disorder did not impair the Defendant’s ability to live independently or to participate in the
10   legal proceedings. The Presentence Report detailed Defendant’s physical and mental
11   health conditions and Defendant’s lengthy criminal history. Between 1997 and 2018,
12   Defendant sustained thirteen convictions for misdemeanor and felony offenses, including
13   possession of methamphetamine for sale, petty theft, possession of cocaine, burglary, and
14   grand theft. The guideline range was 70 to 87 months. The Court imposed the mandatory
15   minimum sentence of 60 months in custody concurrent for both counts and four years of
16   supervised release.
17         Following his sentence in this case, Defendant was transferred to state custody to
18   serve the remainder of his state sentence. Defendant was returned to federal custody on
19   October 6, 2020. Defendant remains in custody at the Metropolitan Correctional Center in
20   San Diego, California. Medical records indicate Defendant continues to receive treatment
21   for medical conditions, including hypertension, diabetes, epilepsy, and depression.
22   Medical records indicate that Defendant tested positive for the COVID-19 while in state
23   custody. Upon his return to federal custody on October 6, 2020, Defendant was considered
24   COVID recovered, retested, and tested negative.
25         On November 12, 2020, Defendant filed a motion for release under 18 U.S.C.
26   §3582(c)(1)(A) requesting that this Court resentence him to time served, and in the
27   alternative, to allow him to serve the remainder of his sentence on home confinement.
28

                                                   2
                                                                                       18cr5391 WQH
     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.371 Page 3 of 7



 1   Defendant asserts that his continued incarceration places him at risk of infection with
 2   COVID-19.
 3         Plaintiff United States recognizes that the Center for Disease Control has classified
 4   Type 2 diabetes as a risk factor for COVID-19. Plaintiff United States asserts that
 5   Defendant remains a danger to the community. Plaintiff United States contends that a
 6   reduction of Defendant’s sentence to time served would not satisfy the §3553(a) factors
 7   based upon the seriousness of his offenses and his serious criminal history. Plaintiff
 8   United States further asserts that Defendant continues to receive adequate medical
 9   treatment and that the Bureau of Prisons has taken significant measures to contain the
10   spread of the COVID-19 virus.
11                             RULING OF THE COURT
12         A district court generally “may not modify a term of imprisonment once it has been
13   imposed.” 18 U.S.C. § 3582(c); Dillon v. United States, 560 U.S. 817, 825-26 (2010).
14   However, a narrow exception in § 3582(c)(1)(A) provides in relevant part:
15                The court may not modify a term of imprisonment once it has been
           imposed except that--
16
                  (1) in any case--
17                (A) the court, upon motion of the Director of the Bureau of Prisons, or
           upon motion of the defendant after the defendant has fully exhausted all
18
           administrative rights to appeal a failure of the Bureau of Prisons to bring a
19         motion on the defendant's behalf or the lapse of 30 days from the receipt of
           such a request by the warden of the defendant's facility, whichever is earlier,
20
           may reduce the term of imprisonment (and may impose a term of probation
21         or supervised release with or without conditions that does not exceed the
           unserved portion of the original term of imprisonment), after considering the
22
           factors set forth in section 3553(a) to the extent that they are applicable, if it
23         finds that--
                  (i) extraordinary and compelling reasons warrant such a reduction;
24
                  …
25                and that such a reduction is consistent with applicable policy statements
           issued by the Sentencing Commission;
26
27
28

                                                   3
                                                                                       18cr5391 WQH
         Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.372 Page 4 of 7



 1   18 U.S.C. § 3582(c)(1)(A).1
 2           Section 1B1.13 of the Sentencing Guidelines, adopted before the First Step Act,
 3   addressing a motion for sentence reduction by the Director of the Board of Prisons under
 4   18 U.S.C. § 3582(c)(1)(A) states in relevant part:
 5                 Upon motion of the Director of the Bureau of Prisons under 18 U.S.C.
             § 3582(c)(1)(A), the court may reduce a term of imprisonment (and may
 6
             impose a term of supervised release with or without conditions that does not
 7           exceed the unserved portion of the original term of imprisonment) if, after
             consideration of the factors set forth in 18 U.S.C. § 3553(a), to the extent that
 8
             they are applicable, the court determines that—
 9                 (1)(A) Extraordinary and compelling reasons warrant the reduction. . .
                   (2) The defendant is not a danger to the safety of any other person or to
10
             the community, as provided in 18 U.S.C. § 3142(g); and
11                 (3) The reduction is consistent with this policy statement.
12
     U.S.S.G. § 1B1.13. The commentary to § 1B1.13 lists four circumstances that qualify as
13
     “extraordinary and compelling reasons”: (A) medical condition of the defendant; (B) age
14
     of the defendant; (C) family circumstances; and (D) “Other reasons—As determined by
15
     the Director of the Bureau of Prisons, there exists in the defendant’s case an extraordinary
16
     and compelling reason other than, or in combination with, the reasons described in
17
     subdivisions (A) through (C).” U.S.S.G. § 1B1.13 n.1.           Application Note 1 § 1B1.13
18
     provides for the following extraordinary and compelling reason:
19
                    (A) Medical Condition of the Defendant.--
20                  (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
21
             expectancy (i.e., a probability of death within a specific time period) is not
22           required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
23
                    (ii) The defendant is--
24                  (I) suffering from a serious physical or medical condition,
                    (II) suffering from a serious functional or cognitive impairment, or
25
                    (III) experiencing deteriorating physical or mental health because of the
26
27
     1
       Plaintiff United States agrees that Defendant has met the exhaustion requirement of 18 U.S.C. §
28   3582(c)(1)(A).

                                                     4
                                                                                         18cr5391 WQH
     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.373 Page 5 of 7



 1         aging process that substantially diminishes the ability of the defendant to
           provide self-care within the environment of a correctional facility and from
 2
           which he or she is not expected to recover.
 3
 4   Application Note 1 § 1B1.13. The Sentencing Guideline provisions were not amended
 5   after the enactment of the First Step Act and apply only to a motion for sentence reduction
 6   by the Director of the Bureau of Prisons. This Court takes these sentencing guideline
 7   provisions into account in determining whether a reduction is consistent with applicable
 8   policy statements issued by the Sentencing Commission. However, the Court finds that
 9   these provisions are not a limitation upon the Court’s ability to determine whether a
10   defendant has presented extraordinary and compelling reasons for a sentence reduction
11   under 18 U.S.C. § 3582(c)(1)(A).
12         In this case, Defendant was sentenced to 60 months in the custody of the Bureau of
13   Prisons after entering a plea of guilty to two counts of distribution of methamphetamine in
14   violation of 21 U.S.C. §§ 841(a)(1) and 853. Defendant admitted in the Plea Agreement
15   that he knowingly sold methamphetamine to a confidential source working with the Federal
16   Bureau of Investigations on two occasions. Defendant acknowledged that the charges to
17   which he was pleading guilty carried a “mandatory minimum of 5 years.” ECF No. 46 at
18   4.
19         The Presentence Report detailed the Defendant’s physical and mental health
20   conditions and Defendant’s lengthy criminal history beginning in 1997. Defendant was in
21   a Criminal History Category VI and the guideline range was 70-87 months. On August 7,
22   2020, the Court considered all of the facts and circumstances in the Presentence Report and
23   applied the factors under 18 U.S.C. § 3553(a). The Court granted a downward departure
24   and sentenced the Defendant to the custody of the Bureau of Prisons for 60 months. The
25   Court concluded that this was the mandatory minimum sentence and the minimum sentence
26   to satisfy the sentencing factors under 18 U.S.C. §3553(a).
27         Section 3553(a) provides that the sentencing court must impose a sentence that is
28   “sufficient, but not greater than necessary … (A) to reflect the seriousness of the offense,

                                                  5
                                                                                     18cr5391 WQH
     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.374 Page 6 of 7



 1   to promote respect for the law, and to provide just punishment for the offense; (B) to afford
 2   adequate deterrence to criminal conduct; (C) to protect the public from further crimes of
 3   the defendant; and (D) to provide the defendant with needed education or vocational
 4   training, medical care, or other correctional treatment in the most effective manner[.]” 18
 5   U.S.C. § 3553(a)(2)(A)-(D). The Court must also consider, among other factors, “the
 6   nature and circumstances of the offense and the history and characteristics of the
 7   defendant” and the “need to avoid unwarranted sentence disparities among defendants with
 8   similar records who have been found guilty of similar conduct.” Id.
 9         These factors weigh against reducing the Defendant’s sentence to time served in
10   light of the departure to the mandatory minimum sentence at the time of sentencing and
11   the seriousness of the criminal history. The need for the sentence “to protect the public
12   from further crimes of the defendant” and “to reflect the seriousness of the offense” under
13   18 U.S.C. §3553(a) continues to support the sentence imposed. Reducing this Defendant’s
14   sentence to time served would produce an unwarranted disparity among similarly situated
15   defendants and fail to afford adequate deterrence to criminal conduct. The Court concludes
16   that serving fifteen months of the mandatory minimum 60 month sentence imposed would
17   not be consistent with any of the factors under § 3553(a) and any applicable policy
18   statement issued by the Sentencing Commission.
19         The record demonstrates that Defendant continues to receive treatment for his
20   physical and mental conditions. Defendant has recovered from COVID-19 and there is no
21   evidence to demonstrate that the treatment he continues to receive is not adequate. The
22   facts presented in this record show Bureau of Prisons continues to modify operational plans
23   to address the risk of COVID-19 transmission. The Court finds that the application of the
24   § 3553(a) factors weigh strongly against reducing Defendant’s sentence to time-served and
25   finds that compelling reasons do not warrant such a reduction under § 3582(c).
26         The Court has no authority to direct the Bureau of Prisons to place a defendant in
27   home confinement. Once a sentence is imposed, the Bureau of Prisons is responsible to
28   “designate the place of the prisoner’s imprisonment.” 18 U.S.C. § 3621(b). Under the

                                                   6
                                                                                      18cr5391 WQH
     Case 3:18-cr-05391-WQH Document 105 Filed 12/31/20 PageID.375 Page 7 of 7



 1   Coronavirus Aid, Relief, and Economic Security Act, enacted March 27, 2020, the Bureau
 2   of Prisons may “lengthen the maximum amount to time for which the Director is authorized
 3   to place a prisoner in home confinement” if the Attorney General finds that emergency
 4   conditions will materially affect the functioning of the Bureau of Prisons. Pub. L. No. 116-
 5   136, § 12003(b)(2), 134 Stat, 281, 516. On April 3, 2020, the Attorney General gave the
 6   Director of the Bureau of Prisons the authority to exercise this discretion at facilities that
 7   have seen the greatest incidence of coronavirus transmission. This Court has no authority
 8   to direct the exercise of this discretion by the Director of the Bureau of Prisons.
 9         IT IS HEREBY ORDERED that the motion to reduce sentence under 18 U.S.C. §
10   3582(c)(1)(A)(i) (ECF No. 98) is denied.
11    Dated: December 31, 2020
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   7
                                                                                       18cr5391 WQH
